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                                  UNITED STATES DISTRICT COURT
                                  EASTERN DISTRICT OF MISSOURI
                                        EASTERN DIVISION

 TAMARA REAVIS,                                   )
                                                  )
             Plaintiff(s),                        )
                                                  )
        v.                                        )         No. 4:19‐CV‐02916‐PLC
                                                  )
 SAINT LOUIS COUNTY, MISSOURI, et al.,            )
                                                  )
             Defendant(s).                        )
                                                  )

                                               ORDER

      Pursuant to Local Rule 2.08, a request has been received for random reassignment of

this case to a District Judge.

      IT IS HEREBY ORDERED that the above styled cause is randomly reassigned from

Magistrate Judge Patricia L. Cohen to District Judge Henry Edward Autrey.

January 9, 2020                                 Gregory J. Linhares             /
Date                                            Clerk of Court
                                         By:    /s/ Katie Stamm             /
                                                KATIE STAMM
                                                Deputy Clerk


In all future documents filed with the Court, please use the following case number:
4:19‐CV‐02916‐HEA
